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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION                                                             ENTERED
                                                                                                                   02/19/2020
_________________________________________
                                          )
In re:                                    )                               Chapter 11
                                          )
SOUTHERN FOODS GROUPS, LLC, et al.,       )                               Case No. 19-36313 (DRJ)
                                          )
            Debtors. 1                    )                               Jointly Administered
                                          )
                                          )
_________________________________________ )                                (Docket No. 850)

  ORDER ESTABLISHING DEADLINES AND PROCEDURES FOR FILING PROOFS
  OF CLAIM AND APPROVING THE FORM AND MANNER OF NOTICE THEREOF

          Upon the motion (the “Motion”) 2 of Southern Foods Group, LLC, Dean Foods

Company, and certain of their affiliates that are debtors and debtors in possession in the Chapter

11 Cases (collectively, the “Debtors”), for entry of a final order, pursuant to sections 501, 502,

503, 507, and 1111(a) of the Bankruptcy Code and Bankruptcy Rules 2002(a)(7) and 3003(c)(3),

(a) establishing deadlines and procedures for filing proofs of claim (“Proofs of Claim”) in the

Chapter 11 Cases, (b) approving the proposed form of notice of deadlines and procedures for

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           The debtors and debtors in possession in these chapter 11 cases, along with the last four digits of their
respective Employer Identification Numbers, are as follows: Southern Foods Group, LLC (1364); Dean Foods
Company (9681); Alta-Dena Certified Dairy, LLC (1347); Berkeley Farms, LLC (8965); Cascade Equity Realty,
LLC (3940); Country Fresh, LLC (6303); Dairy Information Systems Holdings, LLC (9144); Dairy Information
Systems, LLC (0009); Dean Dairy Holdings, LLC (9188); Dean East II, LLC (9192); Dean East, LLC (8751); Dean
Foods North Central, LLC (7858); Dean Foods of Wisconsin, LLC (2504); Dean Holding Company (8390); Dean
Intellectual Property Services II, Inc. (3512); Dean International Holding Company (9785); Dean Management, LLC
(7782); Dean Puerto Rico Holdings, LLC (6832); Dean Services, LLC (2168); Dean Transportation, Inc. (8896);
Dean West II, LLC (9190); Dean West, LLC (8753); DFC Aviation Services, LLC (1600); DFC Energy Partners,
LLC (3889); DFC Ventures, LLC (4213); DGI Ventures, Inc. (6766); DIPS Limited Partner II (7167); Franklin
Holdings, Inc. (8114); Fresh Dairy Delivery, LLC (2314); Friendly’s Ice Cream Holdings Corp. (7609); Friendly’s
Manufacturing and Retail, LLC (9828); Garelick Farms, LLC (3221); Mayfield Dairy Farms, LLC (3008); Midwest
Ice Cream Company, LLC (0130); Model Dairy, LLC (7981); Reiter Dairy, LLC (3675); Sampson Ventures, LLC
(7714); Shenandoah’s Pride, LLC (2858); Steve’s Ice Cream, LLC (6807); Suiza Dairy Group, LLC (2039);
Tuscan/Lehigh Dairies, Inc. (6774); Uncle Matt’s Organic, Inc. (0079); and Verifine Dairy Products of Sheboygan,
LLC (7200). The debtors’ mailing address is 2711 North Haskell Avenue, Suite 3400, Dallas, TX 75204.
          2
              Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
Motion.
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filing Proofs of Claim in the Chapter 11 Cases (the “Bar Date Notice”), in substantially the form
 filed at Docket No. 928-1
XXXXXXXXXXXXX
attached   to the Motion, (c) approving the form and manner for filing Proofs of Claim and the

form of customized Proof of Claim attached to the Motion that substantially complies with

Official Bankruptcy Form 410 (the “Customized Proof of Claim Form”), and (d) approving the

proposed manner and sufficiency of service and publication of the Publication Notice (the

“Publication Notice”), attached to the Motion, as more fully described in the Motion; and the

Court having jurisdiction to consider the matters raised in the Motion pursuant to 28 U.S.C.

§ 1334 and the Amended Standing Order of Reference from the United States District Court for

the Southern District of Texas, dated May 24, 2012; and the Court having found that this is a

core proceeding pursuant to 28 U.S.C. § 157; and this Court having found that it may enter a

final order consistent with Article III of the United States Constitution; and this Court having

found that venue of this proceeding and the Motion in this District is proper pursuant to 28

U.S.C. §§ 1408 and 1409; and due, proper, and adequate notice of the Motion and opportunity

for objection to and a hearing on the Motion having been given to the parties listed therein, and it

appearing that no other or further notice need be provided; and the Court having reviewed and

considered the Motion; and the Court having determined that the legal and factual bases set forth

in the Motion and at the hearing (if any) establish just cause for the relief granted herein; and the

Court having found that the relief requested in the Motion being in the best interests of the

Debtors, their creditors, their estates, and all other parties in interest; and upon all of the

proceedings had before the Court; and after due deliberation and sufficient cause appearing

therefor,

IT IS HEREBY ORDERED THAT:

       1.      The relief requested in the Motion is hereby granted as set forth herein.
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       2.      Each person or entity, including, without limitation, each individual, partnership,

joint venture, corporation, limited liability company, estate, trust, or governmental unit, that

holds or asserts a claim, as defined in section 101(5) of the Bankruptcy Code, against any of the

Debtors shall file a separate Proof of Claim in the Chapter 11 Case of each Debtor against whom

a claim is asserted; provided, that the Debtors may agree in writing without further order of the

Court to permit a claimant to file a Proof of Claim asserting a claim against more than one

Debtor if such Proof of Claim clearly identifies each Debtor and its corresponding liability.

       3.      General Bar Date. Except as otherwise provided herein, any person or entity

asserting a claim against the Debtors in the Chapter 11 Cases must file an original, written Proof

of Claim so that it is actually received, as provided in paragraph 7 below, by the Clerk of the

Court or Epiq Corporate Restructuring, LLC (“Epiq”), on or before March 27, 2020 at 5:00

p.m. (prevailing Central Time) (the “General Bar Date”), at the address and in the form set

forth herein. The General Bar Date applies to all persons and entities holding claims against the

Debtors that arose or are deemed to have arisen on or before the Petition Date, including, without

limitation, claims for rights to payment arising on account of any federal or state statutory trusts,

secured claims, unsecured priority claims (including, without limitation, claims entitled to

priority under sections 507(a)(4), (5), and (8) of the Bankruptcy Code), and unsecured

nonpriority claims.

       4.      Governmental Bar Date. Notwithstanding paragraph 3 above, the deadline for

governmental units (as defined in section 101(27) of the Bankruptcy Code) to file a Proof of

Claim against the Debtors is May 11, 2020 at 5:00 p.m. (prevailing Central Time) (the

“Governmental Bar Date”).
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       5.      Amended Schedules Bar Date.          If the Debtors amend or supplement their

Schedules to (a) reduce the undisputed, noncontingent, and liquidated amount of a claim,

(b) change the amount, nature, or characterization of a claim, or (c) add a new claim to the

Schedules, the affected claimant must file a Proof of Claim or amend any previously filed Proof

of Claim in respect of the amended scheduled claim in accordance with the procedures described

herein so that it is actually received, as provided in paragraph 7 below, by Epiq on or before the

later of (y) the General Bar Date and (z) 30 days after the claimant is served with notice of the

applicable amendment or supplement to the Schedules (together, the “Amended Schedules Bar

Date”).

       6.      Rejection Damages Bar Date. In the event a Debtor rejects any executory

contracts or unexpired leases pursuant to section 365 of the Bankruptcy Code, Proofs of Claim

asserted in connection with such rejection must be filed so that they are actually received, as

provided in paragraph 7 below, by Epiq on or before the later of (a) the General Bar Date and

(b) 30 days after entry of any order authorizing the rejection of such executory contract or

unexpired lease (together, the “Rejection Damages Bar Date”).

       7.      Proofs of Claim filed with Epiq will be deemed timely filed only if actually

received by Epiq on or before the applicable Bar Date associated with such claim by delivering a

completed, signed, original of the Proof of Claim form, together with any accompanying

documentation required by Bankruptcy Rules 3001(c) and 3001(d), by (a) if to the Clerk of the

Court, electronic submission through PACER (Public Access to Court Electronic Records at

http://ecf.txsb.uscourts.gov), or if submitted through non-electronic means, U.S. Mail or hand

delivery system at the following address:
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                                        Clerk of the Court
                                  United States Bankruptcy Court
                                         515 Rusk Street
                                      Houston, Texas 77002

                                         Correspondence:
                                  David J. Bradley, Clerk of Court
                                          P.O. Box 61010
                                      Houston, Texas 77208

(b) regular mail to Southern Foods Group, LLC d/b/a Dean Foods Claims Processing Center c/o

Epiq Corporate Restructuring, LLC P.O. Box 4419 Beaverton, OR 97076-4419, (c) overnight

mail, courier service, hand delivery, or in person to Southern Foods Group, LLC d/b/a Dean

Foods Claims Processing Center c/o Epiq Corporate Restructuring, LLC 10300 SW Allen Blvd.

Beaverton, OR 97005, or (d) completing the electronic Proof of Claim Form (an

“Electronic Proof of Claim”) available online at the Debtors’ Case Information Website using

the interface available on such website located at https://dm.epiq11.com/SouthernFoods under

the link entitled “File a Claim” (the “Electronic Filing System”). Proof of Claim Forms

submitted by facsimile or e-mail will not be accepted.

       8.        The following persons and entities are not required to file Proofs of Claim:

            a.      the Office of the United States Trustee for the Southern District of
                    Texas (the “U.S. Trustee”) on account of claims for fees payable
                    pursuant to 28 U.S.C. § 1930;

            b.      any person or entity that has already properly filed a Proof of Claim
                    against the correct Debtor(s) with either Epiq or the Clerk of the Court
                    for the United States Bankruptcy Court for the Southern District of
                    Texas;

            c.      any person or entity (i) whose claim is listed in the Debtors’ Schedules
                    or any amendments thereto, (ii) whose claim is not described therein as
                    “disputed,” “contingent,” or “unliquidated,” and (iii) who does not
                    dispute the amount or characterization of its claim as set forth in the
                    Schedules (including that the claim is an obligation of the specific
                    Debtor against which the claim is listed in the Schedules);
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   d.   any entity that holds a claim allowable under sections 503(b) and
        507(a)(2) of the Bankruptcy Code as an administrative expense (other
        than any claim allowable under section 503(b)(9) of the Bankruptcy
        Code), including any professionals retained by the Debtors or the
        Committee pursuant to orders of the Court who assert administrative
        claims for fees and expenses subject to the Court’s approval pursuant to
        sections 330 and 331 of the Bankruptcy Code;

   e.   any party that is exempt from filing a Proof of Claim pursuant to an
        order of the Court in the Chapter 11 Cases;

   f.   any person or entity whose claim has been paid in full by the Debtors
        pursuant to the Bankruptcy Code or in accordance with an order of the
        Court;

   g.   current officers and directors of the Debtors who assert claims for
        indemnification and/or contribution arising as a result of such officers’
        or directors’ services to the Debtors;

   h.   any Debtor asserting a claim against another Debtor;

   i.   any entity that is wholly owned by a Debtor;

   j.   any person or entity whose claim against the Debtors has been allowed
        by an order of the Court;

   k.   a current employee of the Debtors, if an order of this Court authorized
        the Debtors to honor such claim in the ordinary course of business as a
        wage, commission or benefit, including the Order Authorizing (I)
        Debtors to (A) Pay Prepetition Employee Obligations and (B) Maintain
        Employee Benefits Programs and Pay Related Administrative
        Obligations, (II) Current and Former Employees to Proceed with
        Outstanding Workers’ Compensation Claims, and (III) Financial
        Institutions to Honor and Process Related Checks and Transfers [D.I.
        108]; provided, that a current employee must submit a Proof of Claim
        by the General Bar Date for all other claims arising on or before the
        Petition Date, including claims for benefits not provided for pursuant to
        an order of the Court, wrongful termination, discrimination,
        harassment, hostile work environment, and/or retaliation;

   l.   any entity holding a claim for which a separate deadline has been fixed
        by the Court;

   m.   any holder of an equity interest in the Debtors need not submit a proof
        of interest with respect to the ownership of such equity interest at this
        time; provided, that any holder of an equity interest who wishes to
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                    assert a claim against the Debtors other than with respect to ownership
                    of such equity interest, including a claim relating to the purchase or sale
                    of such interest or rescission under section 510 of the Bankruptcy Code,
                    must submit a Proof of Claim asserting such claim on or before the
                    General Bar Date pursuant to the procedures set forth herein;

            n.      the DIP Secured Parties and Prepetition Secured Parties, each as
                    defined in the Final Order Pursuant to 11 U.S.C. §§ 105, 361, 362,
                    363, 364, 503, 506, 507, and 552 and Rules 2002, 4001, 6003, 6004,
                    and 9014 of the Federal Rules of Bankruptcy Procedure (I) Authorizing
                    the Debtors to (A) Obtain Senior Secured Superpriority Post-Petition
                    Financing, and (B) Use Cash Collateral, (II) Granting Liens and
                    Superpriority Administrative Expense Claims, (III) Providing Adequate
                    Protection to Prepetition Secured Parties, and (IV) Granting Related
                    Relief [D.I. 608] (the “Final DIP Order”), for any claims arising from
                    or related to any of the Prepetition Loan Documents or the DIP Loan
                    Documents (each as defined in the Final DIP Order), as applicable,
                    including as specified in the Debtors’ Stipulations (as defined in the
                    Final DIP Order) therein, or the payment of administrative expenses
                    with respect to any of the DIP Obligations (as defined therein);

            o.      the Agent, LC Bank and Purchasers, each as defined in the Final Order
                    Pursuant to 11 U.S.C. §§ 105, 362, 363, 364, 365, 503(b), 507(b), and
                    Rules 4001, 6003, 6004, and 9014 of the Federal Rules of Bankruptcy
                    Procedure (I) Authorizing Certain Debtors to (A) Continue Selling
                    Receivables and Related Rights Pursuant to a Securitization Facility,
                    (II) Modifying the Automatic Stay, and (III) Granting Related Relief
                    [D.I. 576] (“the “Final Securitization Order”), for any claims arising
                    from or related to any of the Existing Transaction Documents or the
                    Amended Transaction Documents (each as defined in the Final
                    Securitization Order), as applicable, including as specified in the
                    Debtors’ Stipulations (as defined in the Final Securitization Order)
                    therein, or the payment of administrative expenses with respect to any
                    of the Facility Obligations (as defined therein); and

            p.      any party identified in the Final DIP Order or Final Securitization Order
                    as holding a claim on account of any fees, expenses, or other
                    obligations arising thereunder.

       9.        Except as otherwise provided herein, any entity asserting a Proof of Claim against

more than one Debtor shall file a separate Proof of Claim with respect to each such Debtor and

identify on each Proof of Claim the particular Debtor against which their claim is asserted. If

more than one Debtor is listed on any particular Proof of Claim Form, such claim shall be
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deemed to have been filed only against the first listed Debtor. Any claim filed under the joint

administration case number (Southern Foods Group, LLC, et al., Case No. 19-36313 (DRJ)) or

otherwise without identifying a Debtor shall be deemed as filed only against Southern Foods

Group, LLC.

       10.     Notwithstanding anything to the contrary in the Motion or this Order, the

Prepetition Agent, on behalf of itself and the other Prepetition Secured Parties, and the Agent, on

behalf of itself and the Purchasers, and the LC Bank are authorized to file (and amend and/or

supplement, as it sees fit) under the joint administration case number (Case 19-36313 (Southern

Foods Group, LLC, et al., Case No. 19-36313 (DRJ)) a single, master Proof of Claim (a “Master

Proof of Claim”), pursuant to paragraph 16 of the Final DIP Order or paragraph 16 of the Final

Securitization Order, as applicable, on account of any and all of their claims arising under the

Prepetition Loan Documents or the Existing Transaction Documents, as applicable, or specified

or noted under the Final DIP Order or the Final Securitization Order, as applicable, which claims

will be deemed as filed against each of the applicable Debtors.

       11.     Paragraph 16 of the Final DIP Order or paragraph 16 of the Final Securitization

Order, as applicable, shall govern and control with respect to any such Master Proof of Claim

that the Prepetition Agent, the Agent, and the LC Bank, as applicable, elects to submit, and the

terms of such applicable paragraph 16 shall control to the extent inconsistent with this Bar Date

Order. The Master Proof of Claim does not need to include the documents on which the claim is

based or evidenced; however, the Prepetition Agent, the Agent, and the LC Bank, as applicable,

shall make such documents available to the Debtors upon the Debtors’ reasonable request.

       12.     Notwithstanding anything to the contrary herein, The Bank of New York Mellon

Trust Company, N.A. (the “Trustee”) is authorized to file a Master Proof of Claim for principal,
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interest, applicable premium (if any), fees and expenses (including attorneys’ fees), and all other

amounts payable under the applicable indenture and related documents (the “Debt Claim”), on

behalf of itself and all holders of Debt Claims (each, a “Holder”).

       13.     Any such Master Proof of Claim shall have the same effect as if each applicable

Holder had individually filed a Proof of Claim against each applicable Debtor on account of such

Holder’s Debt Claim. The Trustee may amend, supplement, or otherwise modify its Master

Proof of Claim from time to time, to the extent permitted by applicable law. The Trustee shall

not be required to file with a Master Proof of Claim any instruments, agreement, or other

documents evidencing the obligations referenced in such Master Proof of Claim, which

instruments, agreements, or other documents will be provided upon written request to counsel for

the Trustee. For administrative convenience, any Master Proof of Claim authorized herein may

be filed in the case of Debtor Southern Foods Group, LLC (the “Lead Case”), with respect to all

amounts asserted in such Master Proof of Claim, and such Master Proof of Claim shall be

deemed to be filed and asserted by the applicable entity or entities against every Debtor that is

liable for the applicable claim so long as such authorized Master Proof of Claim sets forth in

reasonable detail the basis for such claim and, to the extent reasonably possible, the amount

asserted against each applicable Debtor. No authorized Master Proof of Claim shall be

disallowed, reduced, or expunged on the basis that it is filed only in the Lead Case and only

against Debtor Southern Foods Group, LLC. For the avoidance of doubt, the provisions set forth

in this paragraph and any Master Proof of Claim filed pursuant to the terms hereof are intended

solely for the purpose of administrative convenience and shall not affect the substantive rights of

any party-in-interest or their respective successors-in-interest, including, without limitation, the

rights of the Trustee or any Holder under applicable law, and the numerosity requirements set
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forth in section 1126 of the Bankruptcy Code. In addition, if a Holder asserts a claim (if any)

against any of the Debtors other than the Debt Claims (a “Non-Debt Claim”), such Holder shall

be required to file its own proof of claim for such non-Debt Claims.

       14.     Any person or entity that is required to timely file a Proof of Claim in the form

and manner specified by this Order and who fails to do so on or before the Bar Date associated

with such claim (a) shall be forever barred, estopped, and enjoined from asserting such claim

against the Debtors or thereafter filing a Proof of Claim with respect thereto in the Chapter 11

Cases, (b) shall not, with respect to such claim, be treated as a creditor of the Debtors for the

purpose of voting on any plan in the Chapter 11 Cases, and (c) shall not receive or be entitled to

receive any payment or distribution of property from the Debtors or their successors or assigns

with respect to such claim in the Chapter 11 Cases.
                                                                  found at Docket No. 928-1
       15.                                                    XXXXXXXXXXXXX
               The Bar Date Notice, substantially in the form attached to the Motion, is hereby

approved in all respects.

       16.     The Bar Date Notice shall be deemed good, adequate, and sufficient notice of the

relief granted by this Order to all known creditors of the Debtors if it is served, together with the

Proof of Claim Form, via first-class U.S. mail, postage prepaid, no later than February 26, 2020,

on all known persons and entities holding potential claims against the Debtors.

       17.     The Debtors shall provide all known creditors listed in the Debtors’ Schedules

with the Customized Proof of Claim Form, attached to the Motion, which will identify how the

Debtors have scheduled the creditor’s claim in the Schedules, including (a) the identity of the

Debtor against which the creditor’s claim is scheduled, (b) the amount of the scheduled claim, if

any, (c) whether the claim is listed as contingent, unliquidated, or disputed, and (d) whether the

claim is listed as secured, unsecured priority, or unsecured non-priority. If the creditor disagrees
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with the information set forth on the Customized Proof of Claim Form, the creditor must file a

Proof of Claim identifying the Debtor against which the creditor is asserting a claim and the

amount and type of such claim. Creditors may submit the Customized Proof of Claim Form or

an Official Form 410.

        18.        The form of Customized Proof of Claim attached to the Motion is hereby approved

in all respects.

        19.        The Debtors may, but are not required to, make supplemental mailings of the Bar

Date Package at any time up to 21 days in advance of the Bar Date, with any such mailings

deemed timely and the Bar Date being applicable to the recipient creditors.

        20.        The Debtors shall publish the Publication Notice, substantially in the form

attached to the Motion, in the USA Today national edition no later than 21 days before the

General Bar Date, which Publication Notice is hereby approved in all respects and shall be

deemed good, adequate, and sufficient notice of the General Bar Date by publication.

        21.        Nothing in this Order shall prejudice the right of the Debtors or any other party in

interest to dispute, or to assert offsets or defenses to, any claim reflected in the Schedules as to

amount, liability, characterization, or otherwise, and to subsequently designate any claim as

disputed, contingent, or unliquidated.

        22.        Any Bankruptcy Rule (including, but not limited to, Bankruptcy Rule 6004(h)) or

Local Rule that might otherwise delay the effectiveness of this Order is hereby waived, and the

terms and conditions of this Order shall be effective and enforceable immediately upon its entry.

        23.        The Debtors are authorized to take all such actions as are necessary or appropriate

to implement the terms of this Order.
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       24.     The Court shall retain exclusive jurisdiction to hear and determine all matters

arising from or related to the implementation, interpretation and enforcement of this Order.


    Signed: February 18, 2020.
Dated: ___________________, 2020
        Houston, Texas                           ____________________________________
                                                 DAVID R. JONES
                                                 UNITED STATES BANKRUPTCY JUDGE
